             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    CHARLOTTE DIVISION
             CRIMINAL CASE NO. 3:00-cr-00233-MR-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                    ORDER
                                )
MICHAEL SMITH,                  )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Motion to

Obtain Sentencing Transcripts” [Doc. 118].

     The Court previously denied the Defendant’s request for a copy of his

sentencing transcripts at the Government’s expense.           [Doc. 117].    The

Defendant now renews his request. [Doc. 118].

     The Defendant again has failed to demonstrate a particularized need

for the requested transcripts. See United States v. MacCollom, 426 U.S.

317, 326-27 (1976); Jones v. Superintendent, Va. State Farm, 460 F.2d

150, 152 (4th Cir. 1972).    As grounds for his motion, the Defendant

contends that “his counsel erred by not conducting any investigation in the

prosecution’s case and/or into any defensive strategies.” [Id. at 2]. There

are, however, no post-conviction proceedings pending before the Court.


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Having failed to demonstrate a particularized need for the requested

pleadings, the Defendant’s motion must be denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion to

Obtain Sentencing Transcripts” [Doc. 118] is hereby DENIED.

     IT IS SO ORDERED.




                                             Signed: September 5, 2014




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